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 6

 7                                UNITED STATES DISTRICT COURT
 8                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
       SECURE CHANNELS, INC., a California            )
10                                                    )   CASE NO: 8:17-CV-1148-JVS-KES
       Corporation; SECURE CHANNELS INC., a
                                                      )
11     Delaware Corporation; Richard Blech, an        )
       Individual,                                    )   DEFENDANT ANTONELLI WOZNY
12                                                    )   PLESHA & CAMPA, LLC’S ANSWER
                         Plaintiffs,                  )   AND COUNTERCLAIM TO
13                                                    )   PLAINTIFF’S FIRST AMENDED
                                                      )   COMPLAINT
14      v.                                            )
                                                      )
15     ADRIAN PLESHA, an Individual;                  )
       ANTONELLI WOZNY PLESHA & CAMPA )
16
       LLC, a Florida limited liability company; and ))   Judge:   Hon. James V. Selna
       DOES 1 through 100, inclusive,                     Dept.:   10C
17                                                    )
                                                      )
18                                                    )
                         Defendants.                  )
19                                                    )
20

21

22

23

24            COMES NOW, Defendant ANTONELLI WOZNY PLESHA & CAMPA, LLC

25     (“AWPC”), in answering Plaintiff’s First Amended Complaint (“FAC”) and admits, denies,
26     alleges, and counterclaims as follows:
27

28



                            AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1                                               I. JURISDICTION
 2     1. The defendant does not have sufficient information or belief to enable him to answer the
 3        allegations set forth in paragraph 1 of the FAC and on that ground denies each and every
 4
          allegation contained therein.
 5
                                                       II. VENUE
 6
       2. The defendant denies the allegations set forth in paragraph 2 of the FAC.
 7
                                                  III. PARTIES
 8
       3. The defendant does not have sufficient information or belief to enable him to answer the
 9
          allegations set forth in paragraph 3 of the FAC and on that ground denies each and every
10
          allegation contained therein.
11
       4. The defendant does not have sufficient information or belief to enable him to answer the
12
          allegations set forth in paragraph 4 of the FAC and on that ground denies each and every
13
          allegation contained therein.
14

15
       5. The defendant does not have sufficient information or belief to enable him to answer the

16        allegations set forth in paragraph 5 of the FAC and on that ground denies each and every

17        allegation contained therein.

18     6. Defendant denies the allegations set forth in paragraph 6 of the FAC.

19     7. The Defendant denies the allegations set forth in paragraph 7 of the FAC.
20     8. The defendant admits the allegations set forth in paragraph 8 of the FAC.
21     9. Paragraph 9 of the FAC appears to state conclusions of law to which no response is required.
22        To the extent that the allegations contained in paragraph 9 should be deemed to be allegations
23
          of fact, defendant denies the allegations.
24
       10. Paragraph 10 of the FAC appears to state conclusions of law to which no response is required.
25
          To the extent that the allegations contained in paragraph 10 should be deemed to be allegations
26
          of fact, defendant denies the allegations.
27

28



                            AWPC’s Answer and Counterclaim to Plaintiff’s FAC
                                                        - 2 -
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 1     11. Paragraph 11 of the FAC appears to state conclusions of law to which no response is required.
 2        To the extent that the allegations contained in paragraph 11 should be deemed to be allegations
 3        of fact, defendant denies the allegations.
 4
                                         IV. STATEMENT OF FACTS
 5
       12. The defendant denies the allegations set forth in paragraph 12 of the FAC.
 6
       13. Answering paragraph 13 of the FAC, the defendant admits that a meeting occurred on or about
 7
          December 22, 2014 between Plesha and Blech to discuss what services Plesha might be able
 8
          to provide to SCIC. The defendant further admits that Ross Harris was present at this meeting.
 9
          On information and belief, prior to the meeting, Blech was informed that defendant was in the
10
          industry of lobbying. It was never discussed at the meeting. The defendant further admits to
11
          informing Blech that it operated in the industry of lobbying. The defendant denies all
12
          remaining allegations contained in paragraph 13 of the FAC.
13
       14. The defendant admits the allegations set forth in paragraph 14 of the FAC.
14

15
       15. The defendant admits the allegations set forth in paragraph 15 of the FAC.

16                                           V. CAUSES OF ACTION

17                                          FIRST CAUSE OF ACTION

18                               (Fraudulent Inducement Against All Defendants)

19     16. Defendant repeats and incorporates by reference, as if set forth fully herein, its responses to
20        paragraphs 1 through 15 of the FAC.
21     17. The defendant admits only that Plesha has made, at some point in his lifetime, the following
22        representations: (1) that he is a lobbyist; (2) that he has professional and appropriate
23
          relationships with certain Congressmen; and (3) that he has assisted other companies in
24
          obtaining access to funding. The defendant denies any and all remaining allegations in
25
          paragraph 17 of the FAC.
26
       18. The defendant admits only the following allegations contained in paragraph 10 of the FAC:
27
          (1) That AWPC is not currently an active LLC in the State of Florida; (2) that Plesha has not
28
          ever obtained contracts for a company called Sunflower Wind through what plaintiff refers to

                            AWPC’s Answer and Counterclaim to Plaintiff’s FAC
                                                       - 3 -
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 1        as a “pay to play” scheme; and (3) that Plesha pled guilty in 2003 to charges of making a
 2        false/misleading written statement to the Federal Election Commission in violation of 10
 3        U.S.C. §1001, for which he paid a fine of $5,000.00 and was given three years’ probation.
 4
          The defendant denies the remaining allegations set forth in paragraph 18 of the FAC, to the
 5
          extent they are allegations to which a response is required from defendant.
 6
       19. With regards to each of the allegations set forth in the lettered list of paragraph 19, the
 7
          defendant responds as follows:
 8
              a. The allegations contained in sublist (a) of paragraph 19 appear to state conclusions of
 9
                  law to which no response is required. To the extent that the allegations contained in
10
                  sublist (a) of paragraph 19 should be deemed to be allegations of fact, the defendant
11
                  lacks knowledge or information sufficient to form a belief as to the truth of these
12
                  allegations, and on that basis denies these allegations.
13
              b. The allegations contained in sublist (b) of paragraph 19 appear to state conclusions of
14

15
                  law to which no response is required. To the extent that the allegations contained in

16                sublist (b) of paragraph 19 should be deemed to be allegations of fact, the defendant

17                lacks knowledge or information sufficient to form a belief as to the truth of these

18                allegations, and on that basis denies these allegations.

19            c. The defendant denies the allegations set forth in sublist (c) of paragraph 19 of the
20                FAC.
21            d. The defendant denies the allegations set forth in sublist (d) of paragraph 19 of the
22                FAC.
23
              e. The defendant denies the allegations set forth in sublist (e) of paragraph 19 of the
24
                  FAC.
25
              f. The defendant lacks knowledge or information sufficient to form a belief with regards
26
                  to the allegations set forth in sublist (f) of paragraph 19 of the FAC and therefore
27
                  denies the allegations set forth in sublist (f) of paragraph 19 of the FAC.
28



                            AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1            g. The defendant lacks knowledge or information sufficient to form a belief with regards
 2                to the allegations set forth in sublist (g) of paragraph 19 of the FAC and therefore
 3                denies the allegations set forth in sublist (g) of paragraph 19 of the FAC.
 4
              h. The defendant lacks knowledge or information sufficient to form a belief with regards
 5
                  to the allegations set forth in sublist (h) of paragraph 19 of the FAC and therefore
 6
                  denies the allegations set forth in sublist (h) of paragraph 19 of the FAC.
 7
       20. The defendant denies the allegations set forth in paragraph 20 of the FAC.
 8
       21. The allegations in paragraph 21 of the FAC pertain to the plaintiffs and not the defendant, and
 9
          on that basis, the defendant is not required or able to respond to these allegations. Stating
10
          further, the allegations contained in paragraph 21 of the FAC represent conclusions of law to
11
          which no response is required by the defendant. To the extent any or all of the allegations
12
          contained in paragraph 21 are deemed to be allegations of fact, the defendant lacks knowledge
13
          or information sufficient to form a belief as to the truth of these allegations, and on that basis
14

15
          denies these allegations.

16     22. The defendant denies the allegations set forth in paragraph 22 of the FAC.

17     23. The defendant denies the allegations set forth in Paragraph 23 of the FAC.

18                                     SECOND CAUSE OF ACTION

19                                         (Fraudulent Concealment)
20     24. Defendant repeats and incorporates by reference, as if set forth fully herein, its responses to
21        paragraphs 1 through 23 of the FAC.
22     25. With regards to the allegations contained in paragraph 25 of the FAC, the defendant admits
23
          only that Plesha has made, at some point in his lifetime, the following representations: (1) that
24
          he is a lobbyist (2) that he has professional and appropriate relationships with certain
25
          Congressmen and (3) has assisted other companies in obtaining access to funding
26
          opportunities and that companies can only ultimately secure funding by merit. The defendant
27
          denies any and all remaining allegations in paragraph 25 of the FAC.
28



                            AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1     26. The allegations in paragraph 26 of the FAC state conclusions of law to which no response is
 2        required with respect to defendant’s duty to disclose “representations”. Should any of the
 3        allegations be deemed findings of fact to which a response is required from the defendant, the
 4
          defendant denies making any “false or concealed” representations as alleged in paragraph 26
 5
          of the FAC.
 6
       27. The defendant denies the allegations set forth in Paragraph 27 of the FAC.
 7
       28. The allegations in paragraph 28 of the FAC pertain to the plaintiffs and not the defendant, and
 8
          on that basis, the defendant is not required or able to respond to these allegations. Stating
 9
          further, the allegations contained in paragraph 28 of the FAC represent conclusions of law to
10
          which no response is required by the defendant. To the extent any or all of the allegations
11
          contained in paragraph 28 are deemed to be allegations of fact, the defendant lacks knowledge
12
          or information sufficient to form a belief as to the truth of these allegations, and on that basis
13
          denies these allegations.
14

15
       29. The defendant denies the allegations set forth in Paragraph 29 of the FAC.

16     30. The defendant denies the allegations set forth in Paragraph 30 of the FAC.

17                                      THIRD CAUSE OF ACTION

18                              (Fraudulent Promise Without Intent to Perform)

19                                          (Against All Defendants)
20     31. Defendant repeats and incorporates by reference, as if set forth fully herein, its responses to
21        paragraphs 1 through 30 of the FAC.
22     32. The defendant denies the allegations set forth in Paragraph 32 of the FAC.
23
       33. Paragraph 33 of the FAC calls for conclusions of law to which no response is required.
24
          Paragraph 33 of the FAC further contains allegations which pertain to the plaintiffs and not
25
          the defendant, and on that basis, the defendant is not required or able to respond to these
26
          allegations. To the extent that a response is required from the defendant to paragraph 33 of
27
          the FAC, the defendant denies making the representations/promises described in paragraph
28
          33 of the FAC.

                            AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1     34. The defendant denies the allegations contained within paragraph 34 of the FAC.
 2     35. The defendant denies the allegations contained within paragraph 35 of the FAC.
 3     36. The defendant denies the allegations contained within paragraph 36 of the FAC.
 4
                                       FOURTH CAUSE OF ACTION
 5
                                         (Negligent Misrepresentation)
 6
                                            (Against all Defendants)
 7
       37. Defendant repeats and incorporates by reference, as if set forth fully herein, its responses to
 8
          paragraphs 1 through 36 of the FAC.
 9
       38. Defendant denies the allegations set forth in paragraph 38 of the FAC.
10
       39. The allegations in paragraph 39 of the FAC pertain to the plaintiffs and not the defendant, and
11
          on that basis, the defendant is not required or able to respond to these allegations. Stating
12
          further, the allegations contained in paragraph 39 of the FAC represent conclusions of law to
13
          which no response is required by the defendant. To the extent any or all of the allegations
14

15
          contained in paragraph 39 are deemed to be allegations of fact, the defendant denies these

16        allegations.

17     40. The defendant denies the allegations set forth in paragraph 40 of the FAC.

18                                        FIFTH CAUSE OF ACTION

19                                              (Breach of Contact)
20                                           (Against All Defendants)
21     41. Defendant repeats and incorporates by reference, as if set forth fully herein, its responses to
22        paragraphs 1 through 40 of the FAC.
23
       42. Defendant admits the allegations set forth in paragraph 42 of the FAC.
24
       43. Defendant denies the allegations set forth in paragraph 43 of the FAC.
25
       44. Defendant denies the allegations set forth in paragraph 44 of the FAC.
26
                                        SIXTH CAUSE OF ACTION
27
                                   (Slander per se California Civil Code §46)
28
                                            (Against all Defendants)

                            AWPC’s Answer and Counterclaim to Plaintiff’s FAC
                                                      - 7 -
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 1     45. Defendant repeats and incorporates by reference, as if set forth fully herein, its responses to
 2          paragraphs 1 through 44 of the FAC.
 3     46. The allegations contained in paragraph 46 of the FAC call for a conclusion of law with respect
 4
            to the phrase “made a defamatory statement” to which no response is required from the
 5
            defendant. To the extent that the allegations are deemed to be factual allegations to which a
 6
            response is required, the defendant admits that Plesha made a similarly worded statement but
 7
            denies that it is defamatory as it is true – the plaintiff reneged on its agreement and did not
 8
            pay the defendant as promised under the terms of the agreement.
 9
       47. The allegations in paragraph 47 of the FAC pertain to Ross Harris, and not the defendant, and
10
            on that basis, the defendant is not required or able to respond to these allegations. To the
11
            extent any or all of the allegations contained in paragraph 47 of the FAC are deemed to be
12
            allegations of fact to which the defendant should respond, the defendant lacks knowledge or
13
            information sufficient to form a belief as to the truth of these allegations, and on that basis
14

15
            denies these allegations.

16     48. The defendant denies the allegations set forth in paragraph 48 of the FAC.

17     49. The defendant denies the allegations set forth in paragraph 49 of the FAC.

18     50. The defendant denies the allegations set forth in paragraph 50 of the FAC.

19     51. The defendant denies the allegations set forth in paragraph 51 of the FAC.
20             WHEREFORE, the defendant prays that the plaintiff take nothing by way of his FAC
21     and that this answering defendant herein recover for his damages, costs, and such other and
22     further relief as the Court may deem just and proper.
23                                      AFFIRMATIVE DEFENSES

24                                         First Affirmative Defense
25
               By way of affirmative defense, the defendant asserts that the plaintiffs’ FAC should be
26
       dismissed pursuant to Rule 12(b)(6) for failure to state a claim upon which relief can be granted.
27
       //
28



                              AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1                                          Second Affirmative Defense
 2             By way of affirmative defense, the defendant says that the plaintiff’s lawsuit is barred
 3     pursuant to Fed. R. Civ. P. 13 as a compulsory counterclaim which was required to have been
 4
       raised in the previous California Superior Court lawsuit.
 5
                                            Third Affirmative Defense
 6
               By way of affirmative defense, the defendant says that the plaintiffs’ claims are barred due
 7
       to the doctrine of res judicata.
 8
                                            Fourth Affirmative Defense
 9
               By way of affirmative defense, the defendant says that the plaintiffs are estopped from
10
       asserting breach of contract actions.
11
                                             Fifth Affirmative Defense
12
               By way of affirmative defense, the defendant says that the plaintiffs’ claims are barred by
13
       the doctrine of unclean hands.
14

15
                                            Sixth Affirmative Defense

16             By way of affirmative defense, the defendant says that the FAC misnames the defendant.

17                                          Seventh Affirmative Defense

18             By way of affirmative defense, the defendant says that the action is barred by the

19     applicable statute of limitations.
20                                          Eighth Affirmative Defense
21             By way of affirmative defense, the defendant says that the plaintiffs cannot recover for
22     the reason that it failed to give notice of the damages allegedly suffered by it to the defendant as
23
       required.
24
                                            Ninth Affirmative Defense
25
               By way of affirmative defense, the defendant says that because the damages alleged in
26
       the FAC are purely speculative and, in fact, plaintiff has neither alleged an amount of damages
27
       nor incurred damages, the plaintiff cannot recover.
28



                              AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1                                        Tenth Affirmative Defense
 2           By way of affirmative defense, the defendant says that service of process was
 3   insufficient.
 4
                                         Eleventh Affirmative Defense
 5
             By way of affirmative defense, the defendant states that if the plaintiffs suffered injuries
 6
     or damage, as alleged, such injuries or damage were caused by the superseding intervening
 7
     conduct of a third party for whom the defendant is not legally responsible.
 8
                                         Twelfth Affirmative Defense
 9
     By way of affirmative defense, the defendant says that the plaintiffs breached the terms and
10
     conditions of the agreement or contract alleged in the plaintiffs’ FAC, and that, therefore, the
11
     plaintiffs cannot recover.
12
                                        Thirteenth Affirmative Defense
13
             By way of affirmative defense, the defendant says that the contract or agreement alleged
14

15
     in the plaintiffs’ FAC was terminated, and that, therefore, the plaintiffs cannot recover.

16                                      Fourteenth Affirmative Defense

17           By way of affirmative defense, the defendant says that the plaintiffs are estopped from

18   asserting breach of contract actions.

19                                       Fifteenth Affirmative Defense
20           By way of affirmative defense, the defendant says that the plaintiffs released the
21   defendant or its agents from any liability and the plaintiffs are therefore barred from recovery.
22                                      Sixteenth Affirmative Defense
23
             By way of affirmative defense, the defendant says that the plaintiffs’ claims are barred
24
     due to failure of consideration.
25
                                        Seventeenth Affirmative Defense
26
             By way of affirmative defense, the plaintiffs’ claims are barred by the doctrine of laches.
27
     //
28
     //

                           AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1                                   Eighteenth Affirmative Defense
 2   By way of affirmative defense, the plaintiff has waived its right to assert breach of contract
 3   actions.
 4                                         COUNTERCLAIM

 5                                               PARTIES
 6
     1. The plaintiff-in-counterclaim, ANTONELLI WOZNY PLESHA & CAMPA, LLC (“AWPC”
 7
        or “plaintiff”, or collectively, “plaintiffs”), is a limited liability company with its principal
 8

 9
        place of business at 430 New Jersey Avenue SE, Washington, DC 20003. AWPC is a

10      lobbying firm which, among other things, facilitates communications to develop potential

11      communications between its clients (private parties) and government/corporate officials.

12   2. The defendant-in-counterclaim, Richard Blech, (“Defendant RICHARD BLECH,” “Blech”,

13      or collectively, “defendants”) is, and was at all times alleged herein, a resident of Orange
14      County, California. AWPC sues him in his individual capacity due to representations made
15      as described herein, and as the principal point of contact between AWPC and Defendant
16      SECURE CHANNELS, a California Corporation, and also as provided in section 4.1 of the
17      Settlement Agreement alleged herein, a true and correct copy of which attached hereto as
18
        Exhibit A.
19
     3. The defendant-in-counterclaim, SECURE CHANNELS, INC. (“Secure Channels” or “SCI/
20
        CA”, or collectively “defendants”) is, and was at all times alleged herein, a California
21
        corporation with its headquarters and principal place of business in Orange County,
22
        California.
23
     4. The defendant-in-counterclaim, SECURE CHANNELS, INC. (“Secure Channels” or
24
        “SCI/DE”, or collectively “defendants”), is, on information and belief, a corporation
25
        incorporated in Delaware with a headquarters and principle place of business in Orange
26
        County, California.
27
                                      FACTUAL ALLEGATIONS
28



                           AWPC’s Answer and Counterclaim to Plaintiff’s FAC
                                                   - 11 -
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 1   5. This is an action for defendants’ breach of a written settlement agreement between AWPC
 2      and defendants.
 3   6. The parties had a written contract dated December 22, 2014 by which defendants would pay
 4
        AWPC for professional lobbying services (“Original Contract”).
 5
     7. During the month of December 2014, AWPC and defendants had several meetings to discuss
 6
        how AWPC could benefit the defendants by offering its lobbying and facilitative services.
 7
        Fee structures were discussed and confirming emails were exchanged.
 8
     8. These negotiations culminated at a meeting on or about December 22, 2014 when Blech said
 9
        he considered plaintiff “engaged” and a contract was formed.
10
     9. Later that same day, AWPC delivered specific terms of the engagement to defendants,
11
        offering to represent them for a one-year term at $7,000 per month (which totals $84,000).
12
     10. At 8:48pm that evening, December 22, 2014, Blech responded, stating, “Your proposal below
13
        at $7,000 per month with $2,000 towards an equity structure is acceptable… This email to
14

15
        you should serve as my confirmation to you to proceed per below.”

16   11. AWPC began performing lobbying and facilitative work in accordance with the agreement.

17   12. AWPC worked to arrange both public and private sector meetings in Washington DC for

18      defendants – including with Exxon, PricewaterhouseCoopers, and the MPAA (Sony) after

19      defendants “agreed to the terms of Plesha’s well-thought out proposal.”
20   13. In reliance on the contract with defendants, AWPC also turned down a different cyber security
21      client in December 2014 to avoid a conflict.
22   14. However, on or about January 16, 2015, defendants asked AWPC to stop working for them
23
        and refused to pay AWPC the agreed upon compensation.
24
     15. On information and belief, defendants hired at least two lobbyists to do work on their behalf
25
        following the breakdown of the relationship between AWPC and defendants.
26
     16. On information and belief, to date, both lobbyists subsequently hired by defendants are also
27
        still owed money from defendants - in keeping with defendants’ pattern of not honoring
28
        agreements and not paying for services.

                          AWPC’s Answer and Counterclaim to Plaintiff’s FAC
                                                  - 12 -
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 1   17. AWPC performed its obligations to defendants, relied on their acceptance of its terms, and
 2      started arranging meetings for defendants; but defendants failed to pay as required by the
 3      contract.
 4
     18. To resolve the ensuing dispute, AWPC and defendants then agreed in writing (July 1, 2015)
 5
        to the terms of a settlement agreement (“Settlement Agreement”) to resolve their contract
 6
        dispute.
 7
     19. Defendants defaulted on that contract as well, leaving a sum of $79,000 plus attorney’s fees
 8
        due.
 9
     20. AWPC filed suit in Superior Court, Orange County California for breach of the settlement
10
        agreement, and received a monetary judgment following a jury trial against defendants.
11
     21. In order to delay, and avoid trial, as well as obfuscate and confuse the jury and judge regarding
12
        the facts surrounding the state trial, defendants filed this lawsuit in federal court on August 6,
13
        2017 on the same facts and evidence already presented in the state trial.
14

15
     22. This current lawsuit is a wholly frivolous and a pure revenge stunt with the purpose and hopes

16      of solely costing the defendants time and money. Defendants lost the state court lawsuit, and

17      are now hoping to use this federal lawsuit to gain some kind of leverage in the state court

18      matter before the verdict is final and/or to extol revenge.

19   23. Defendants have also counter-sued at least four other parties suing him for lack of payment
20      including former partners, two former employees of defendants, and another Washington DC
21      based lobbyist similar to AWPC.
22                                               COUNT ONE
23
                                       (Breach of Settlement Agreement)
24
                                   (Against All Defendants-in-Counterclaim)
25
     24. AWPC reallege and incorporate as though set forth fully herein each paragraph of this
26
        counterclaim.
27
     25. A manifestation of mutual consent may be made “even though neither offer nor acceptance
28
        can be identified and even though the moment of formation cannot be determined.”

                           AWPC’s Answer and Counterclaim to Plaintiff’s FAC
                                                    - 13 -
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 1      Furthermore, the manifestation may be partly written and partly oral statements or acts; e.g.,
 2      a written offer and an oral acceptance or acceptance by conduct. (Witkin, Summary of
 3      California Law 10th (2005) Contracts at § 117.)
 4
     26. On or about July 1, 2015, the parties manifested their mutual assent to a specific exchange of
 5
        promises to resolve the dispute between them by signing a Settlement Agreement (Exhibit A).
 6
     27. The Settlement Agreement requires defendant SCI to pay plaintiff the sum of $25,000 over
 7
        the course of four months (July through October 2015). (Exhibit A, section 1.1.)
 8
     28. Defendants failed to make the required payments under the Settlement Agreement, except for
 9
        the first $5,000 payment on or about July 2, 2015, despite many demands.
10
     29. Since SCI has defaulted on the Settlement Agreement, SCI owes AWPC $84,000 (the amount
11
        that AWPC would have been paid under the terms of the initial contract from December of
12
        2014), minus $5,000 paid, for $79,000 still due (See Exhibit A, section 1.2.), which AWPC
13
        has demanded and again hereby demands.
14

15
     30. Since SCI has defaulted on the Settlement Agreement, Defendant Blech is also personally

16      liable to pay plaintiff for his lobbing services on the Original Contract, for any amount not

17      paid by SCI, up to $84,000. (See Exhibit A, section 4.1.) Defendant Blech has failed to pay

18      this amount, which plaintiffs have demanded and again hereby demand.

19   31. The breach by defendants has made it necessary for AWPC to employ counsel to file the
20      previous and now this current suit. This claim was timely presented to defendants and remains
21      unpaid. A reasonable fee for the attorney’s services rendered and to be rendered is at least
22      $25,000, or subject to proof, or the maximum allowed by law.
23
     32. The Settlement Agreement provides that the prevailing party shall be entitled to reasonable
24
        attorney fees and costs. (Exhibit A, section 5.9.)
25
     33. All conditions precedent to recovery as alleged herein have been fully performed.
26
                                               COUNT TWO
27
                                            (Promissory Estoppel)
28
                                  (Against All Defendants-in-Counterclaim)

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 1   34. AWPC realleges and incorporates as though set forth fully herein each paragraph of this
 2      counterclaim.
 3   35. On or about December 22, 2014, defendants agreed to terms proposed by AWPC, as described
 4
        above, in exchange for plaintiff’s lobbying work in Washington, D.C., among other locations.
 5
        The Agreement also provided a minimum term of one (1) year.
 6
     36. In assenting to the Agreement, defendants knew or should have known that their actions would
 7
        case plaintiffs to reasonably to rely upon their representations and that he would be reasonably
 8
        induced to rely upon their promises and/or assurances of payment.
 9
     37. In conducting his reasonable due diligence preceding the Agreement, AWPC was not able to
10
        uncover any evidence that defendants were unable to pay on the Agreement and, in fact,
11
        defendants presented plaintiff with sufficient representations, including personal assurances
12
        from Defendant Blech, to persuade him to commence work on their behalf.
13
     38. AWPC acted in reliance to his detriment by fully performing under the terms of the Agreement
14

15
        and by foregoing other paying work to lobby on defendants’ behalf. Based on their

16      representations to plaintiff, defendants should be estopped from denying that a contract exists.

17   39. Defendants have not performed any part of their agreement to pay, reimburse, or otherwise

18      remunerate AWPC, all to his damage as described above.

19   40. Injustice can only be avoided by enforcing the Agreement, assurances, and/or representations
20      of payment, reimbursement, and other forms of remuneration.
21                                            COUNT THREE
22                              (Against All Defendants-in-Counterclaim)
23
                                          (Indebitatus Assumpsit)
24
     41. AWPC realleges and incorporates as though set forth fully herein each paragraph of this
25
        counterclaim.
26
     42. On or about December 22, 2014, defendants agreed to terms proposed by AWPC, as described
27
        above, in exchange for AWPC’s lobbying work in Washington, D.C., among other locations.
28
        The Agreement also provided a minimum term of one (1) year.

                          AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1   43. In assenting to the Agreement, defendants knew or should have known that their actions would
 2      case plaintiffs reasonably to rely upon their representations and that he would be reasonably
 3      induced to rely upon their promises and/or assurances of payment.
 4
     44. In conducting his reasonable due diligence preceding the Agreement, AWPC was not able to
 5
        uncover any evidence that defendants were unable to pay on the Agreement and, in fact,
 6
        defendants presented AWPC with sufficient representations, including personal assurances
 7
        from defendant Blech, to persuade AWPC to commence work on their behalf.
 8
     45. AWPC acted in reliance to its detriment by fully performing under the terms of the Agreement
 9
        and by foregoing other paying work to lobby on defendants’ behalf. Based on their
10
        representations to AWPC, defendants should be estopped from denying that a contract exists.
11
     46. Defendants have not performed any part of their agreement to pay, reimburse, or otherwise
12
        remunerate plaintiff, all to his damage as described above.
13
     47. Injustice can only be avoided by enforcing the Agreement, assurances, and/or representations
14

15
        of payment, reimbursement, and other forms of remuneration.

16                                             COUNT FOUR

17                                (Against All Defendants-in-Counterclaim)

18                                             Quantum Meruit

19   48. AWPC realleges and incorporates as though set forth fully herein each paragraph of this
20      counterclaim.
21   49. This Cause of Action is pled in the alternative to the Third Cause of Action.
22   50. Within the last four years, as set forth above, AWPC performed valuable lobbying,
23
        government consulting, and other professional services on behalf of the defendants. Such
24
        lobbying, consulting, and other professional services were performed at the specific request
25
        of defendants and they promised to remunerate plaintiff the reasonable value of those services.
26
     51. Furthermore, defendants, at all times alleged herein, accepted, used, enjoyed, and otherwise
27
        knowingly received the benefit of the services provided by AWPC.
28



                          AWPC’s Answer and Counterclaim to Plaintiff’s FAC
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 1   52. AWPC has, to no avail, demanded payment from defendants. The last demand was made on
 2      January 13, 2016.
 3   53. The fair and reasonable value of services provided to defendants is at least $84,000 (minus
 4
        $5,000 paid, for $79,000 still due).
 5
     54. No payment has been made to plaintiff, except the initial $5,000 under the Settlement
 6
        Agreement, and there is now owing the sum of at least $79,000.
 7
                                               COUNT FIVE
 8
                                (Against All Defendants-in-Counterclaim)
 9
                          Unfair Competition Law (Bus. & Prof. Code § 17200)
10
     55. AWPC realleges and incorporates as though set forth fully herein each paragraph of this
11
        counterclaim.
12
     56. As described above, defendants used AWPC’s services to inure certain benefits to themselves,
13
        to wit, defendants used AWPC to lobby the government and assist them with procuring
14

15
        various appointments with elected and corporate officials.

16   57. AWPC fully performed its obligations and defendants have refused to perform their

17      obligations.

18   58. By using AWPC’s services, by breaching their obligations under the terms of the Settlement

19      Agreement, by accepting AWPC’s services and benefiting from them, defendants have
20      engaged in unlawful, unfair, and/or fraudulent business practices as those terms are defined
21      and applied by Bus. & Prof. Code section 17200.
22   59. Since AWPC has been damaged by defendants’ conduct, as described above, he is entitled to
23
        restitution for the value of its services and its time spent performing under the Settlement
24
        Agreement in an amount to be established at trial.
25
                                          PRAYER FOR RELIEF
26
            WHEREFORE, AWPC prays for judgment against the defendants-in-counterclaim as
27
     follows:
28



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 1   1. That the Court deny all relief sought by defendants-in-counterclaim’s FAC, and that the FAC
 2      be dismissed with prejudice, with costs and attorney fees awarded to AWPC;
 3   2. That the Court order defendants-in-counterclaim, jointly and severally, to pay damages for:
 4
            a. All actual and consequential damages;
 5
            b. All interests, costs, and attorney’s fees;
 6
            c. All incidental expenses and damages; and
 7
            d. All punitive and exemplary damages;
 8
     3. That AWPC be awarded reasonable attorney’s fees and costs for time and expenditures
 9
        incurred in the defense of this matter in an amount determined to be appropriate by this Court;
10
     4. All equitable relief the Court may deem just and proper, and;
11
     5. For all other relief the Court may deem just and proper.
12

13

14   Dated: March 23, 2018                         /s/ Zachary S. Schumacher
                                                   Attorney for Defendant and Counter-claimant,
15                                                 Antonelli Wozny Plesha & Campa, LLC
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                          AWPC’s Answer and Counterclaim to Plaintiff’s FAC
                                                   - 18 -
